J. BROOKS B. PARKER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Parker v. CommissionerDocket No. 101676.United States Board of Tax Appeals44 B.T.A. 369; 1941 BTA LEXIS 1341; April 30, 1941, Promulgated *1341  A taxpayer, unmarried, who supports and maintains his aged aunt and her family in a residence necessarily apart from his own home, held, entitled as the head of a family to a personal exemption of $2,500.  Philip Dechert, Esq., for the petitioner.  Paul E. Waring, Esq., for the respondent.  STERNHAGEN *369  The Commissioner determined a deficiency of $875 in petitioner's income tax for 1936.  He disallowed the claim for personal exemption of $2,500 as head of a family.  FINDINGS OF FACT.  The petitioner is an individual, residing in Strafford, Pennsylvania.  He is engaged primarily as an insurance agent in Philadelphia.  He is unmarried.  He has long lived in a house left to him by his parents, who had lived in it many years, and entertains frequently, often as an incident of his business.  In the house next door, which he owns, he supports his aunt, aged ninety-three, and her family, all of whom are incapable of self-support except one, who earns $25 a week.  Petitioner's mother supported this family before her death, and petitioner assumed and has continued such support as an obligation ever since.  He is recognized by this family as*1342  having the right to exercise family control and has exercised it.  It would be inconvenient and impractical for the family to live in petitioner's house.  Petitioner needs his house for his business purposes, the house is not large enough to accommodate all the persons of the family, the aunt could not be moved because of her age and physical condition, and her daughter has an illness which requires constant care.  The circumstances are such that it is necessary that petitioner, on the one hand, and his aunt and her family, on the other, should live separately.  OPINION.  STERNHAGEN: The evidence shows that petitioner fulfills all of the qualifications prescribed by the regulations, article 25-4, Regulations 94, of the head of a family, covered by section 25(b)(1), Revenue Act of 1936.  He actually supports and maintains one or more individuals who are closely connected with him by blood, has the right to exercise family control and provide for them, and this is based on a *370  moral or legal obligation.  The separation of residence is a matter of necessity under the circumstances.  The $2,500 personal exemption should have been allowed, *1343 ; ; ; ; ; ; . Decision will be entered under Rule 50.